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                   EXHIBIT 1
Case 4:22-cv-11009-FKB-DRG ECF No. 157-2, PageID.4949 Filed 06/20/25 Page 2 of 3


   From:             James Allen
   To:               Daniel D. Quick
   Cc:               Peter Doyle
   Subject:          RE: Worrell
   Date:             Friday, May 30, 2025 10:58:14 AM
   Attachments:      image001.png
                     image002.png
                     image003.png
                     image005.png




  I am not in a position to advise you on what you need to do or not do. We have said we will
  pay the experts. To my recollection, you have not made a similar commitment as it relates
  to Mr. Elliott and I am unaware of any payment advanced to him by you. As to timing, we
  can pay just as soon as our client advances the funds as we have no intention of violating
  MRPC 1.8. Perhaps we could facilitate the payment if Plaintiff stipulates to release funds
  currently being embargoed by the record companies. Beyond that,


  From: Daniel D. Quick <DQuick@dickinson-wright.com>
  Sent: Thursday, May 29, 2025 12:52 PM
  To: James Allen <james.allen@sbdetroit.com>
  Cc: Peter Doyle <Peter.Doyle@sbdetroit.com>
  Subject: RE: Worrell


  Do I need to bring this to the attention of the court? The experts need to get
  paid. Please advise this week.


                    Daniel D. Quick
                    Member
                    O:248-433-7242
                    DQuick@dickinsonwright.com
          2600 West Big Beaver, Suite 300, Troy, MI 48084

  From: Daniel D. Quick
  Sent: Tuesday, May 6, 2025 2:06 PM
  To: James Allen <james.allen@sbdetroit.com>
  Cc: Peter Doyle <Peter.Doyle@sbdetroit.com>
  Subject: RE: Worrell


  Please advise on this.

  From: James Allen <james.allen@sbdetroit.com>
  Sent: Thursday, April 24, 2025 4:47 PM
  To: Daniel D. Quick <DQuick@dickinson-wright.com>
Case 4:22-cv-11009-FKB-DRG ECF No. 157-2, PageID.4950 Filed 06/20/25 Page 3 of 3


  Cc: Peter Doyle <Peter.Doyle@sbdetroit.com>
  Subject: Re: Worrell

  Yes we will pay. I need to check with Tom Bruetsch and the client on timing and will advise of expected date of
  payment next week.
  Sent from my iPhone


         On Apr 24, 2025, at 4:29ථPM, Daniel D. Quick <DQuick@dickinson-wright.com> wrote:



         Counsel:

         Are you prepared to pay the experts for the depositions? To our
         knowledge, you have not yet done that. If you confirm it will be
         done and when, we will commit to the same for defendants’ expert.
         Please advise.
                            Daniel D. Quick
                            Member
                            O:248-433-7242
                            DQuick@dickinsonwright.com
                  2600 West Big Beaver, Suite 300, Troy, MI 48084

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         purpose to be a "signature" or "signed" under any electronic transmission acts, unless otherwise
         specifically stated herein. Thank you.
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  specifically stated herein. Thank you.
